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           United States Court of Appeals for the District of Columbia
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   William Mitchell Pakosz
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                                                                                           a:
                Appellant



   Antony L. Blinken, in his official Capacity as Secretary of State, the United
   States Department of State, the United States of America »

                Appellees

   Michelle Boulton and Rick Dale
   Hollingsworth,

                Appellants



    Appeal from the United States District Court for the District of Columbia
                         Case No l:19-cv-02316-RC
                     The Honorable Rudolph Contreras


                    Appellant Rick Dale Hollingsworth Brief



                                  (Unrepresented)
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 William Pakosz, et al. v. Antony Blinken, et al., Case No. 22-5143, D.C. Ct. App.


                        Certificate Regarding Oral Argument


      I request oral argument if I am able to find an advocate certified to practice

law in the Court of Appeals, D.C. Circuit. This case presents important

jurisdictional and constitutional questions addressing when citizens and pro se

complainants may pursue claims against state official for violating their

constitutionally protected freedoms and the means available for the constitutionally

guaranteed due process and redress of government especially where malevolent

government officers hide their identities behind agency office titles. If an advocate

is found, oral argument is vital to bringing clarity to the most significant issues of

law as related to the facts and process of the case and controversy to assist the

Court in establishing justice on appeal. I do not know of anyone yet who will take

my case.




Appellant, The First Substitute of William Pakosz
14930 Greenbrier Lane
Homer Glen, IL 60491
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                        JURISDICTIONAL STATEMENT

     1.   Pursuant to Rules 28(4)(A)-(D): September 27,2019, Pakosz joined the

case of Carmichael v. Pompeo in the United States district court. District of

Columbia, l:19-cv-02316 (A., A-1, p. 3 / ECF 6). Pakosz's complaint is a civil suit

in the jurisdiction of the district court regarding injuries to the Appellants by

United States government officers acting under the color of law in violation of the

First, Fifth, and Ninth Amendments as well as 42 U.S.C § 2000bb, 42 U.S.C. §

1983, 22 U.S.C. 2721, the Privacy Act 5 U.S.C. § 552a, 42 U.S.C. § 408,18

U.S.C. § 241 and 245. The Secretary of State, the Department of State, and the

United States are the Appellees in an official capacity, along with malevolent

perpetrators not in their official capacity who were unable to be named when the

complaint was filed.. The district court had original jurisdiction regarding the

natural persons of the respondents, in or out of their official capacity, the artificial

persons of the United States, and the United States Department of State.

     2.   Appellate jurisdiction exists under 28 U.S.C. § 1291 or § 1292. On

March 25, 2022, the district court granted the defendants' (Appellees') motion to

dismiss regarding the Plaintiffs (Appellants) Pakosz who is deceased, and denied

the petition of Rick Dale Hollings (and David Alan Carmichael as alternate) to act

as Pakosz's substitute (A. A-2, pp. 20-22, ECF /124, Dist. Ct. Order, 3/25/22; A.

A-3, pp. 23-55, ECF 125, 3/25/22 Opinion). The claims of Pakosz were disposed
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as final, in so many words to be moot or not judiciable. On May 18, 2022, the

Plaintiffs filed a timely notice of appeal from the district court's March 25 order

pursuant to Rule 4(a)(1)(B) (A. A-1, p. 16, ECF 132). The D.C. Circuit ruled on

August 11, 2022 (Cir. Ct. 22-5143, Doc. 1958987) that Plaintiffs Boulton and

Pakosz (with Hollingsworth filing as substitute) met the threshold of finality of 28

U.S.C. § 1291 or applied as a collateral decision as required by 28 U.S.C. § 1292.

Two other Plaintiffs/appellants' appeals were found to not satisfy 28 U.S.C. § 1291

or § 1292, and are proceeding in the district court on the government Defendants'

motion to dismiss for mootness (A. A-1, p. 18, ECF 140).

     3.   This Court reviews dismissal for lack of jurisdiction de novo, and

mootness de novo, Haynes v. Hooters ofAm., LLC, 893 F.3d 781, 784 (11th Cir.

2018), and denial of leave to amend the complaint for abuse of discretion. Almana

V. United Airlines, Inc., 851 F.3d 1060, 1074 (11th Cir. 2017).

                  STATEMENT OF ISSUES TO BE RAISED

The Appeal presents (number) issues:

     4.   Damages Available, Either Expressly Stated or Inferred - During

litigation, the U.S. Supreme Court declared the availability of damages as

appropriate relief under the Religious Freedom Restoration Act, ie. Uzuegbunam v.

Preczewski, 592 U.S.         (3/8/2021) and Tanzin v. Tanvir, 592 U.S.          (


 12/10/2020). Those principles where not known by Pakosz when he joined the
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complaint. Under Fed. R. Civ. P. 15(a)(2), district courts "should freely give leave

 [to amend a complaint] when justice so requires." There is enough in the

complaint to infer compensatory, nominal and exemplary money damages,

depending on the culpability of each defendant.      Did the district court:

    a) Abuse its discretion in dismissing Pakosz's substitute, Hollingsworth, on

    the basis of its saying no damages were available for Pakosz?

    b) Error in law, and clearly error as to facts alleged, construing that Pakosz did

    not make a claim sufficient for Uzuegbunam v. Preczewski and Tanzin v.

    Tanvir to apply to his case where the district court said that there was no

    Article III standing?

      5.   Damages Available With Respect To Defendants Named With The

Pseudonym ,fCo-Conspiritors. - Pro se Pakosz brought claims for damages

 scattered in the complaint. On the government's motion to dismiss, courts must

 construe the complaint broadly and in the plaintiffs' favor. Yet, the district court

ruled that there were no damages available. The district court ignored Pakosz's

 claims that "co-conspirators" meant that there were defendants liable under their

 individual capacity since the nature of their actions could not be in an official

 capacity. The liable defendants were not able to be named at the time of the filing

 since passport denial's came in the form of agency office names (ie. Bureau of

 Consular Affairs, Passport Service, Office of Legal Affairs and Law Enforcement
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Liaison), and were referred to in the complaint as "co-conspirators." Did the

district court:

    a) Error as a matter of law regarding its interpretation of the law, construing

    the complaint to exclude defendants as not in their official capacity?

    b) Commit clear error as to fact saying that the complaint did not reach

    damages liability to those who could not be particularly named because their

    names were hidden by the government?

    c) Abuse discretion where it completely ignored the Appellants' declarations

    regarding their meaning of their words relating to those not in official capacity?

    d) Error in law, clearly error as to facts, and abuse discretion dismissing as

    moot Pakosz's right to seek money damages from co-conspirators?

    e) Abuse its discretion where it gave no opportunity for Pakosz to amend the

    complaint to clarify their meaning of the term co-conspirators?

    f) Abuse discretion where it gave no opportunity for Pakosz to amend the

    complaint to particularly name Kristia Watkins, Jonathan Rolbin, (discovered

    by virtue of their declarations), at a minimum who are personally liable for

    appropriate damages relief?

     6.    Damages Available For New Violations of Law During Litigation -

Subsequent to the ruling in Aug. 2020, there were new violations of law by those

acting under the color of law, who had an obligation to approve Pakosz's passport
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renewal application and issue the passport as soon as the district court ruled against

the government's motion for dismissal. They then used their control on the

passport issuance as bait to try to get Pakosz to abandon the object of his lawsuit.

Did the district court:

     a) Error in law and abuse discretion where it denied Hollingsworth the right to

     substitute for Pakosz for those pecuniary damages due Pakosz from the

     malevolent government agents, such as Scott A. Miller, who acted under the

     color of law to exact another unlawful denial of a passport to Pakosz?

     c) Is the substitute able to take facts that emerged during the case, and exercise

     due process through discovery to identify the lawless actions of the perpetrators

     under-the-color-of-law who committed the new offences against Pakosz, so

     that Hollingsworth may to seek damages for Pakosz and his survivors?

                           STATEMENT OF THE CASE

A.         Nature of the Case

      7.   This is a case of first impression affecting the rights of Pakosz and others

who apply for passports requesting accommodation for religion. The Primary

grievance is that officers of the United States willfully, knowingly, intelligently,

and criminally-negligently flouted, in hostility to Pakosz and his religion, and so

violated: the passport statute prohibiting the denial of passports for things protected

by the First Amendment; due process laws; and law protecting the complainants in
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their rights of religion, among other things. Pakosz has Article III standing where

the malevolent actors injured in Pakosz's right to travel, under false arrest and

confinement within the borders of the United States; among other traceable injuries

in violation of the Unites States Constitution and the laws of the United States.

     8.   Under the color of law, the malevolent actors denied Pakosz a passport

initially until such time as he would recant his activity of religion. Then, they

falsified statements and made frivolous claims during litigation to unreasonably

and malevolently delay the passport renewal that they knew was due Pakosz.

Notwithstanding the district court ruling that the Appellees had unlawfully denied

Pakosz's passport, the Appellees challenged Pakosz to act in a way that would

abandon his standing in the litigation, holding the renewal of his passport as a

carrot on a stick instead of issuing it as they had a duty to do. It was aided and

abetted by the district court. With a false promise of someday renewing Pakosz's

passport without violating his rights under the laws protecting religion, they used

that promise as the basis to move that Pakosz's case was moot. They used a new

unlawful means to deny his passport renewal, violating his rights under the U.S.

Constitution, the Privacy Act, and the Paperwork reduction Act.

     9.   This case has elements of both cases recently decided by the U.S.

 Supreme Court regarding deprivation of individual rights under the color of law;

where the government claims the reversal of their policy moots the case against the
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bad conduct of officers, Uzuegbunam v. Precewski and Tanzin v. Tanvir. Pakosz's

initial pro se complaint had scattered claims for monetary relief. At the time of the

complaint, Uzuegbunam and Tanzin were not known by Pakosz. During the

litigation, while he was alive, Pakosz alerted the court to those cases and notified

the court that there needed to be both discovery and a subsequent opportunity to

amend the complaint to apply the rules of those cases to the liability of those acting

under the color of law whose identities had so far been hidden by the government.

      10. Pakosz died while the Appellants were in their second phase of denying

his passport. His son in law, Rick Dale Hollingsworth moved to substitute Pakosz

in order to see the case through to judgment and payment of damages by those who

are liable to Pakosz and his estate (ECF 113). The district court dismissed

Hollingsworth's motion to substitute on the basis that dead people don't get

passports and there are no damages available (A. A-3, p.31 / ECF 125 p. 9).

B.     Conflict Between Pakosz's Religious Belief and Government Practice

      11. The law of the United States at 8 USC § 1185 says “.. .it shall be unlawful

 for any citizen of the United States to depart from or enter, or attempt to depart

 from or enter, the United States unless he bears a valid United States passport.”

      12. The U.S. passport application/renewal forms, DS-11 and DS-82 state:

       “Failure to provide information requested on this form, including your social
       security number, may result in significant processing delays and/or the
       denial of your application” (A. A-4, p. 86 / ECF 51, | Disclosure) (Emphasis
       added).
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     13. Pakosz obtained a passport in Dec, 2008, without identifying with a SSN

but submitting a statement regarding his religious belief and activity. The passport

form warned that the application may be delayed or denied for not providing a

SSN (A. 4, pp. 165-166, Complaint Amended, H 53-54. / ECF-51, pp. 17-18).

     14. Asa matter of religion,1 Pakosz could not identify himself with a Social

Security Number (SSN). It is the number of the beast for which the Bible has

promised a reward for those who foresake it. Pakosz intended to make a pilgrimage

to a formal ceremony in Poland to celebrate the sacrifices of his family made in

fighting as partisans against the Nazis in World War II. In what he believed was

sufficient time to get his passport renewed for his journey, beginning August 16,

2017, Pakosz made several attempts to obtain a passport. He placed “Religious

Prohibition 42 USC 2000bb” in the block 5 of the form to not identify with a SSN.

Filed his forms with letters requesting religious accommodation. Those and other

letters he intended to be seen by the Secretary of State (A. A-5, pp. 150-151, 154-

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 52, 53-54, 57-60, 61-78, 85-100, 103-104, 105-106, 109-112).

     15. Unnamed officers, cloaked in department titles rather than names, sent

responses to Pakosz completely ignoring his request for religious accommodation.

They asked him to declare under oath that a SSN had never been issued for him (A.

                                          8
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A-5, pp. 148-149, 152-153, 174-175, 220-221 / ECF 53, pp. 29-30, 33-34, 55-56,

 101-102) On one of the government-provided affidavit forms, Pakosz explained

his not identifying with a SSN for reasons of religion (A. A-5, p 193 / ECF 53, p.

74). A timeline of his correspondence was filed in the district court (A. A-5, pp.

 140-144 / ECF 53, pp. 21-25). Most of his correspondence was unanswered.

     16. Pakosz contacted his friend, minister of the gospel, David Alan

Carmichael who had won a case on a similar subject.11 Pakosz gave Carmichael

power of attorney as a Good Samaritan to communicate to the agency for Pakosz

(A. A-4, p. 62,122). Carmichael (hereinafter "Pakosz's agent"), had a

conversation with an agency officer, Christine McClean, Law Enforcement Liaison

Division {Id. 125). McClean said that the agency had no discretion but to deny a

passport for not identifying with a SSN {Id. 126). Pakosz's agent responded

reminding McClean of the laws protecting religious freedom and that the passport

form's use of the term "may" meant that discretion did apply. A transcript of the

conversation is recorded in the amended complaint (A. A-4, pp. 93-96 / ECF pp.

38-41). McClean explained that there was no process for religious

accommodation, and that the letter gone to the proper place when asked if it had

made it to the Secretary of State. {Id. bottom of last page) That proper place

should have been Secretary Pompeo but that delivery had likely not occurred.

     17. Pakosz and several other people contacted their Congressional legislators



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and the White House asking for assistance {Id. 131). The agency responded only

to Carmichael regarding the White House correspondence, saying in so many

words that relief was not available {Id. 134). Seemingly in reaction to White

House correspondence, the agency sent a notification to Carmichael that his

passport had been revoked for not providing a SSN (A/133). Carmichael filed

suit in the district court, l:19-cv-2316 (A. A-1, pp. 1-2, ECF 1). Pakosz and

Carmichael moved to join Pakosz September 2019 (A. A-1, p. 3, ECF 6).

C.    General Summary of The Litigation

     18. Among other things, the complaint alleged that co-conspirators violated

Pakosz rights under the First, Fifth and Ninth Amendments, as well as the statutes

protecting religion, 42 U.S.C. § 2000bb, et seq., and the prohibiting the denial of

passports based upon the Appellants' activities of religion, 22 U.S.C. § 2721. The

district court ignored the substance of many, if not all, filings of Pakosz. Rather

than rule on the substance of Pakosz motions, or address his substantive challenges

to the government's motions, the court just tracked the sophistry of the government

despite the complete lack of evidentiary support; and in many instances despite the

clearly contradictory evidence supplied by Pakosz.

     19. The original complaint that Pakosz joined reached for damages but could

not name those called co-conspirators, not being able to know who they actually

were without discovery. Pakosz’s motions for discovery were denied and the



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facts of his case never adjudicated.

D)     First Government Motion To Dismiss Fails

     20.       The Appellees moved for dismissal on Rule 12(b)(1) and (6), and in

the alternative for summary judgment (A. A-1, p. 4, ECF 24). In their motion, they

admitted that they issue passports for those who declare that a SSN has never been

issued on their behalf (A. B-6, p. 232 / ECF 24-1, p. 9) a mere teehnieal reason

rather than a religious one. They also acknowledged that "Plaintiffs seek more

than $500,000 in money damages (A. B-7, p. 233 / ECF 24-1. pi). Pakosz

responded (A. A-1, p. 4-5, / ECF 27), pointing out that there were material facts in

 dispute, the record had not been provided to the court pursuant to 5 U.S.C §§ 701-

 706, the passport law 22 U.S.C. § 2721; the RFRA 42 U.S.C. § 2000bb; the

Privacy Act 5 U.S.C. 552a; the Social Security Act at 42 U.S.C. § 408; as well as

 18 U.S.C. § 241 and § 245 expressly prohibit the conduct of the eonspirators; and

the 22 U.S.C. 2714a(f) statute used as an excuse by the government was

unconstitutional. Pakosz also filed a eross-motion for Declaratory Partial

 Summary Judgment, Motion for Injunction on the First Cause of Action (A. A-1, p

 5, ECF 27, 28). In that document and its attachments, Pakosz cited the need for

 discovery so that individuals ean be named and be individually held liable in their

private eapacity (A. B-11, p 289 / ECF 27, p. 17 & A. B-12, pp. 290-293 / ECF 27-

 2, pp. 6-7, 12-13)



                                          11
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         21. The district court ruled that Pakosz had standing as a matter of the

    RFRA, the Privacy Act, and the Fifth Amendment (A. B-8, p. 234 / ECF 44; A. B-

    9, pp. 235-258) Carmichael, etal. v. Pompeo, et al. 486 F. Supp. 3d. 360 (D.D.C.

    Aug. 28, 2020). The government did not demonstrate a compelling interest to

    demand a SSN at the cost of a passport. It wrongly treated the SSN as mandatory

    when the application information indicated it was voluntary. It did not provide the

    right to due process protected by the Fifth Amendment. The district court

    dismissed the other counts, including the first cause of action, violation of 22

    U.S.C. § 2721 denial of passport prohibited where belief, activity, etc. protected by

    the First Amendment. Pakosz filed objections to the ruling where it was in error,

    eventually filing a timely motion for relief in accordance with the rules (A. B-10,

    pp. 259-288 / ECF 247). There he objected to the dismissal of counts that related

    to damages liability to hidden actors and noted the necessity of discovery, p. 6,

    ECF 47, particularly relevant are T||46-49, pp. 20-21 of 24 (A. B-10, pp. 282-283).

    E)    The Court Process Is Polluted

         22. Immediately after the district court recognized his standing, Pakosz

    renewed his efforts to obtain discovery by a scheduling conference after his motion

    to compel discovery was denied many months earlier (A. A-1, p. 6, ECF 40).

    Pakosz sent a thoroughly developed discovery proposal to the U.S. Attorney
n
    complying with Rule 16(b) on October 20, 2020 (A. B-13, pp. 294-295 / ECF 55,



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pp. 9-10). Pakosz, with his companions, filed an amended complaint in

accordance with those things allowed by the Court in its August 28, 2020 order (A.

A-4, pp. 56-119). The government having a Nov. 11 deadline to respond Pakosz's

motion to amend (A. A-1, p. 7, Minute Order 10/28/2020), asked for time to

conference with Pakosz to seek a voluntary remand. The court ordered a joint

status report due December 4, 2020 {Id., Minute Order 11/11/2020).

    23. The U.S. Attorney's communications to Pakosz about the substance and

purpose of the proposed remand eontradicted that which the Attorney filed in his

motion to the court (A. B-14, pp. 296-297,1^8-16 / ECF 54, pp. 2-4). Smelling a

rat, Pakosz filed substantial doeuments, moved for as evidenee for the record,

showing how the government had no excuse to deny his passport application as a

matter of fact and law (A. A-5, pp. 120-231 / ECF 53). The doeuments were sent

by priority mail on December 1, 2020, three days prior to Pakosz ever seeing the

contents of the Status Report filed by the government on December 4, 2020.

Pakosz's substantive evidenee and arguments preemptively exposed the frivolity of

the government's seheme to evade judieial serutiny of Pakosz's case and to delay

the issuanee of his passport under their guise of questioning his identity. (A. A-5,

pp. 123-125, If 6-12 / ECF 53, pp. 4-6).

     24. In his Status Report (A. A-1, p. 7, ECF 54), Pakosz preemptively

protested that the government's motion was: a) Not in good faith (A. B-14, p. 299,



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T|18 / ECF 54, p. 7) b) Should be estopped from taking opposite opinions from

their motion for dismissal and summary judgment {Id. ||19-20); c) Should be

estopped from taking opposite positions about the verity of Pakosz's identity {Id.,

T|21); d) Illegitimately intended "to institute a unique inquisition tailored to the

Plaintiffs under the color of questioning their identity?" {Id., p6. ^21.); e) Should

be estopped from their opposite position that their having no discretion to provide

an in-agency appeal. {Id., p. 300, |22 / ECF 54 p. 8).

     25. Pakosz preemptively AND prophetically argued that: a) The district

court had ruled that it had jurisdiction on at least two causes of action where

complete relief was not in the power or prerogative of the Defendant to provide.

{Id., p. 6., f23.); b) The government at that time had a duty to provide the

passports based upon that documentation which the already possessed {Id., p. 6,

|24.); c) The government wanted to repair their case, evade judicial scrutiny,

"subject the Plaintiffs to further obstructive processes, and to have power to

interrogate without Pakosz having the power to interrogate the government's bad

actors." {Id., p. 301, |25 / ECF 54, p. 9); d) The government was implying an

admission that laws were violated ." {Id., 126.); e) The issuing of passports is only

the minimum requirement and does not provide complete relief." {Id., 127.); f) A

final judgment against (Pakosz) would be the effect of granting the motion for

remand. Pakosz objected particularly saying:


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            "29. To grant the Defendants’ stay and remand would be saying: '
          Okay Department of State! You win! We will ignore that the Plaintiffs
          have brought an actionable case to the court, where only the court can
          provide suitable, and asked-for, remedy and relief. We will allow you
          again to make the Plaintiffs run the gauntlet of a quasi-administrative,
          cloaked, application and adjudication process. The Department of Deep
          State can continue to make its own quasi-laws without the authority of
          the Legislature. It can make its own quasi-regulations without the
          parental supervision of the ordinary regulation process mandated by the
          Legislature. It can operate according to its own practices that ignore
          statutes protecting religion and other abuses targeted by the Religious
          Freedom Restoration Act, Administrative Procedures Act and the Privacy
          Act. It can evade the scrutiny of the Secretary of State where the buck is
          supposed to stop. It can ensure that every malefactor can evade the
          accountability for their actions which have tortured and tormented the
          Plaintiffs for over three years. The Plaintiffs will be denied access to
          seek relief in the Court as was Plaintiff Carmichael refused access at the
          door of the Courthouse for his inability to conform to the numbered-man
          norm.
            30. The greatest ill of the malevolent acts against us by the
          Defendant Department of State is that they are obliterating law protecting
          religion, and other fundamental laws, at the arbitrary and in our case
          capricious whim of unelected government officials. A stay and remand
          would enable their destructive addiction and exacerbate the injury
tl        to the Plaintiffs and the public." {Id., pp. 301-302,      29-30 / ECF 54
          pp. 9-10) (Emphasis original)

          26. Pakosz in the same package filed his Notice and Demand "That

     Defendants Show Cause By Clear And Convincing Evidence That The Actual

     Identity Of Pakosz Is In Question" (A. A-5, pp. 119-231 / ECF 53). With that

     notice and demand, Pakosz submitted a copy of his letter sent to Secretary Pompeo

      sent on February 20, 2019, with all its contents which included letters to the State

     Department going back to 2017 and a letter to the Social Security Administration

      from 1981 {Id., pp, 121-123,1T|A-Y and "Attach. 1" pp. 127-231 / ECF 53).

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    Pakosz declared: a) None of the agency's correspondence to him ever questioned

    his identity {Id p. 123,     / ECF 53, p. 4); b) The agency's ordinary procedure is

    to use the previously issued passport to verify identity {Id, |7); c) Pakosz is the
m
    same man of the previously issued passport with no changes to that information

    {Id, p. 124, |8 / ECF 53, p. 5); d) The "Defendants" ... "have made no good faith

    allegation that there is any question regarding my true identiy or that they do not

    believe that I am the man that I say that lam... when ... issued a passport on

    December 11, 2007." (/<7.,^9); e) The Defendants' Attorney on November 10,

    2020, said that there was no question as to the validity of (Pakosz). {Id., T|10).

         27. Pakosz then demanded: a) The Defendants cease and desist from using

    any question of Pakosz's identity as an excuse for "delaying, remanding, staying,

    obstructing or in any otherwise impeding the judicial process" and the process of

    his passport renewal application and their obligations regarding it {Id., til); b)

     Show by clear and convincing evidence why the "verity" of Pakosz's identity

    should be in question before making any allegation that they have a need to

    exercise a process to verify his identity {Id., 112.). Pakosz verified the documents

    and his statements under oath {Id. p. 125 / ECF 53, p. 6). The Defendants never

    repudiated the stated facts that justified the notice and demand to cease and desist.

         28. (Pakosz's) Status Report contained a motion for a discovery scheduling-

    conference, providing a copy of the proposal sent to the government (A. A-1, p 7,



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ECF 55). That motion was ignored.

     29. Pakosz responded to the government's Status Report that promised to file

a motion to remand (A. A-1, p. 7, ECF 63). Among many substantive arguements,

Pakosz complained in so many words that the court cannot force the complainants

to a scheme where the wrongdoer is lawmaker, judge and executioner of the case

(A. B-15, pp. 305, If 12-13 / ECF 63, p. 4). He pointed out that his case was "an

Article III action against the person of the agency and its actors who violated the

law, and the laws of the United States, with injury to (Pakosz's) life, liberty, and

property resulting from their wrong. The agency is not the statutory remedy

provided for by the Legislature, nor do they have power to provide complete relief

(citing 28 U.S.C. § 1331) {Id., pp. 305-306, H15-17 / ECF 63, p. 4-5).

     30. The government filed their motion for remand on December 18, 2020 (A.

A-1, p. 7, ECF 61) and Pakosz responded, December 30, 2020 (A. A-1, p. 8, ECF

65). Among other things, Pakosz claimed that government's ploy was in bad faith,

asserting a question about Pakosz's identity was frivolous and in bad faith (A. B-

 16, p. 307-308, |27 / ECF 65, p. 18-19). Pakosz also stated that his injury from

Fifth Amendment violation and RFRA claims must be adjudicated by the district

court {Id., pp. 309-311, ||48-51 / ECF 65, pp. 25-27). Pakosz continued to point

out that the government's excuse to see if it could make and accommodation was in

bad faith since they issued passports to those without identifying with a SSN for



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non-religious reasons. {Id., pp. 311-312, ||52-54 / ECF 65, pp. 27-28). Pakosz

will be unduly prejudiced by a remand to the accused agency {Id., p 312, ^|55-56 /

ECF 65 pp. 19-20). Pakosz summarized, "The guilty do not have a choice to use

their next sober driving event to nullify their previous DUI, especially when their

willful, intentional, negligent, and reckless violation injured someone. Stay and

remand to the Defendant is unconscionable in this case as a matter of law, fact,

equity, and morality." (ECF 65, p. 31)

     31. Without responding to the merits of Pakosz's objections, the district

court granted the government's remand by minute order (A. A-1, p. 8, Minute

Order 01/20/2021)

     32.    Pakosz filed an objection (A. A-1, p. 9, ECF 71), and moved for

reconsideration and rescission, a stay of the remand order to consider Pakosz's

Rule 52(c) motion, and to certify the remand order for interlocutory appeal (A. A-

 1, p. 9, ECF 72). In reaction, the district court ordered a status report (A. A-1, p. 9,

Minute Order, 02/26/21).

     33. Pakosz responded in opposition to the status report, explaining the bad

faith actions of the government who were baiting Pakosz into their lair in such a

way as to abandon his standing in the litigation in order to get the passport which

he was already due as a matter of law on the basis of his passport renewal

application denial that prompted the litigation (A. B-17, pp. 313-324 / ECF 82)



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Pakosz said:

     ""the Defendants status report deceptively alludes to there being some
     requirement for us to initiate a new action by means of a new DS-82
     form. {Id. p. 318,15 / ECF 82, p. 6)

         .. Look at the promise of the Defendants: . .if the Plaintiffs
     establish upon remand their eligibility for passports, their 2018 and
     2019 passport applications will be granted and the revocation of
     Plaintiff Carmichael’s passport will be rescinded.” (ECF 66, pp. 506)
     Look what the Defendants said in their March 5, 2021 status report (ECF
     80): “The Department recently completed this review and has
     determined that there is no need to request any additional evidence
     from the Plaintiffs during the remand period. Specifically, based on
     Plaintiffs’ prior passport submissions and court records, the Department
     is satisfied with (1) the sincerity of Plaintiffs’ religious beliefs; and
     (2) the adequacy of the citizenship and identity evidence previously
     submitted by each Plaintiff.” (ECF 80,12.)"" {Id. p. 319, ^16 / ECF 82,
     pp. 7)

     "The Defendants show, in their directions for the Plaintiffs future
     applications for a passport renewal, that there is no requirement for the
     Plaintiffs to identify themselves with a SSN. That indicates that under
     the circumstances, as a matter of fact and law, the Plaintiffs were not at
     the time of the current applications and passport, and are not now,
     required to identify with a SSN. “Plaintiffs are not required to identify
     any Social Security Number in their Form DS-82 applications and should
     write ‘refused for religious reasons” (ECF 80, |3.a.)."" {Id. p. 319, /
     ECF 82, p. 7)

     34. In his response to the government's March 5, 2021, Status Report, Pakosz

cited Uzuegbunam, et al. v. Preczewski, et al., saying that there is an actionable

Article III case, predicting that there will be a finding of malevolence, and that

appropriate relief exceeded that which is nominal {Id., p. 321, ^ 12 / ECF 82, p. 9)

     35. The government agency never sent correspondence to Pakosz regarding



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what the U.S. Attorney said was happening in the quasi-remand. The only contact

was from the U.S. Attorney by a telephone conference which Pakosz summarized

for the record with his motion to compel the issuance of his passport (A. B-18, pp.

325-328 / ECF 84-4). The U.S. Attorney admitted that a new DS-82 form was not

necessary, nor that there was any question about Pakosz address; but said that if

Pakosz would just send a new photograph, he could have a renewed passport {Id.,

p. 326 / ECF 84-4, p. 2). Having sent several photographs for renewal denials, the

ground between his house and photo store being packed in icy roadways and

walkways which had cause him an injury recently, and knowing that providing a

not-required-as-a-matter-of-law photograph would abandon his claim against the

actors of the bad-faith remand, Pakosz refused without a court order {Id., p. 327, 1st

para. / ECF 84-4, p. 3) He explained that he would only provide a photograph if the

 district court adjudicated his case and ordered a new photograph if required after a

 finding of fact and conclusions of law. {Id., 1st and 2nd paras.)

      36. The only official communication from the agency was on the eighty-

ninth day of the quasi-remand. Scott A. Miller sent a letter telling Pakosz his

passport renewal application was denied for non-religious reasons for not

volunteering a photograph when requested (A. B-19, p. 329 / ECF 84-7, p. 2). The

 actual text of the reference cited by Mr. Miller verified that the photograph already

 in the hands of Mr. Miller was sufficient according to both the Foreign Affairs



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Manual, 8 FAM 402.1, and the Code of Federal Regulations, 22 C.F.R. § 51.26 (A.

B-20, p. 330 / ECF 84-8, p. 3).

    37. Pakosz moved to compel the government to issue the passport on April

23,2021 (A. A-1, p. 10, ECF 84). William Mitchell Pakosz died July, 5, 2021.

Rick Dale Hollinsworth filed to become the substitute for Pakosz after Pakosz's

death (A. A-1, p. 14, ECF 113).

    38. The district court denied Hollingsworth's petition to substitute for Pakosz

on the basis that dead people don't need passports and no damages were due. (A.

A-3,p.31 / ECF 125, p. 9).

                                   ARGUMENT

     39.   The Federal Rules of Civil Procedure, Rule 54(c) says, "Every other

final judgment [other than default] should grant the relief to which each party is

entitled, even if the party has not demanded that relief in its pleadings." The

district court erroneously denied Appellant Rick Dale Hollingsworth's motion to

substitute for the deceased Pakosz where the court erroneously said that there are

no damages relief available (A. A-3. p. 31 / ECF 125, p. 9).

    40. Pakosz claimed he has Article III standing from the traceable injury he

suffered. He was falsely imprisoned within the borders of the United States, in

Violation of the First Amendment, the Fifth Amendment, the Ninth Amendment

and against the laws of the United States Acts of Congress, Foreign Relations



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Authorization Act, United States Public Law 102-138, Sec. 113, 105 Stat. 655,

Impermissible Basis For Denial of Passports (22 U.S.C. § 2721), and the Religious

Freedom Restoration Act, U.S. Public Law 103-141, 107 Stat. 1488-1490 (42

U.S.C. § 2000bb, et seq.). Pakosz had a traceable claim which included the right to

damages from individuals acting under the color of law if their identities and

partieular acts are exposed by diseovery. The district court erred and abused

diseretion where it never allowed the discovery process to proeeed. Pakosz has yet

to have his day in eourt, and due process to prove the malevolent acts.

     "Court in its final judgment must grant such relief as claimant establishes
     he is entitled to receive." Fielding v. Brebbia, 399 F.3d 1003, 130 U.S.
     App. D.C. 270 (1968)

     41.   The pro se Complaint, taken in its entirety, broadly eites relief that does

not exclude any sort of damages that are warranted by facts proven whether known

at the time of the complaint or discovered in litigation. Pakosz remonstrated, "This

matter requires the court’s declaration of law as it relates to the constitutionality of

the conduct of United States officers and agents, the guiding statutes and

regulations. The remedy required is writ of mandamus, declaratory judgment, and

injunction for protection of religion, and other relief in law and equity, and

compensation for costs and fees where allowable by statute." (A. A-4, p. 57, | 5 /

ECF 51, p. 2) (Emphasis added). Citing Parties, Pakosz continued, "and may also

be eo-conspirators and agents that shall be identified or confirmed upon discovery"


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{Id., p. 58,17./ ECF 51, p. 3). The jurisdictional statement included, "Damages

where allowable and Further Relief {Id. p. 59,19 / ECF 51, p. 4). Pakosz cited

unlawful acts of cloaked individuals who are liable for their unlawful acts under

the color of law. {Id. p. 69,139; p. 87,1 107-112; p. 103,1116; p. 104,1119; p.

 105, Tfl22; p. 106-110,     124, 124g-k, 125; pp. 111-112,^1128, 130-131; p. 113,

1 136-137; p. 114,1139-140 / ECF 51, pp. 14, 32,48, 49, 50, 51-55, 56-57, 58,

59). Pakosz plead for declaratory relief which is prerequisite to a damages

judgment. He sought a finding of fact and conclusions of law that would identify

who acted not in their official capacity as compared to those in their official

capacity {Id, 114-115,11 142-142(3) / ECF 51, pp. 59-60).

     "Relief in form of damages can be awarded even if initial pleadings in
     action contained only prayer for declaratory relief. Miller Brewing Co. v.
     Acme Process Equipment Co., 464 F. Supp. 856, D.C. Wis. (19790

     42. The district court erred and abused discretion where it excluded to

Pakosz the discovery necessary for proof, and to expose and prove facts that

 support his claim, his complaint document can be amended to reach justice.

      "Traditionally, equity may adjust its relief to the proof. Glen Falls
      Indem. Co. v. Golden, D.C.D.C., 148 F. Supp. 41 (1957)

     43. Pakosz demanded relief for no less than $1,000 under the theory of it

being the relief provided by the Privacy Act (A. A-4, p. 116,1144 / ECF 51, p.

 61). The district court erred or abused discretion where it used its theory as the

 basis of saying Pakosz did not plead for damages relief.

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      "Where a bill states a cause of action entitling complainant to equitable
      relief on any theory of the case, a court may grant it under a prayer for
      general relief, though other specific relief may be mistakenly prayed
      for. Liquid Carbonic Corporation v. Goodyear Tire & Rubber Co., 38
      F. Supp. 520, D.C. Ohio (1941)

    44. Pakosz cited facts showing he paid fees unnecessarily, a fact warranting

compensatory relief (A. A-4, p. 75, ^[62 & p. 116, fl47 / ECF 51, p. 20 & 61)

     "This rule providing that final judgment should grant relief to which
     party is entitled even if he has no demanded it in his pleadings applies to
     summary judgment." David v. Romney, 490 F.3d 1360, C.A.Pa. (1974)

     45. Pakosz cited other provisions for money damages including a statement,

"Provide other relief that might be known or found to be suitable, lawful, equitable

or otherwise which is in the power of the court to grant in keeping with the Federal

Tort Claims Act" (A. A-4, p. 116,1148 / ECF 51, p. 61.

     "If evidence is sufficient to sustain higher award than that requested in
     plaintiffs pleadings, complaint is considered amended to conform to
     proof. Bergeson v. Dilworth, 738 F. Supp. 1361, D. Kan. (1990).

     46. Pakosz cited the unjust obstacle to the identification of the wrong-doers

and the particularity of their culpability in his Remonstrance to the district court

order of Aug. 28, 2020 (A. B-21, pp. 331-332,1146-49 / ECF 47, pp. 24-25).

Pakosz's not hitting the bullseye to the damages target at which he was aiming, the

object of his aim is discemable and his complaint ought not to have been

dismissed. Whether his theories of law were correct, his damages relief is due.

     "We agree with appellants that a federal court should not dismiss a
     meritorious constitutional claim because the complaint seeks one remedy

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     rather than another plainly appropriate one" Holt Civic Club v. City of
     Tuscaloosa, 439 U.S. 60 (1978).

     "The purpose of subd. (c) of this rule and rule 15(b) of these rules,
     applicable to retrospective amendment of the pleadings and prayer for
     relief in order that they may conform to the evidence adduced at trial, is
     to avoid the tyranny of formalism. Rosden v. Leuthold, 274 F.2d 747,
     107 U.S. App.D.C 89 (1960)

     47. Therefore, Pakosz claim for relief in the form of damages is still alive

until his claim is adjudicated on its merits.

     "At all stages of litigation, a plaintiff must maintain a personal interest in
     the dispute. The doctrine of standing generally assesses whether that
     interest exists at the outset, while the doctrine of mootness considers
     whether it exists throughout the proceedings. To demonstrate standing,
     the plaintiff must not only establish an injury that is fairly traceable to the
     challenged conduct but must also seek a remedy that redresses that
     injury. And if in the course of litigation a court finds that it can no longer
     provide a plain tiff with any effectual relief, the case generally is moot.
     This case asks whether an award of nominal damages by itself can
     redress a past injury. We hold that it can." Uzuegbunam v. Preczewski,
     592 U.S._____(3/8/2021) Slip Op. p. 1

     ""To satisfy the “ ‘irreducible constitutional minimum’ ” of Article III
     standing, a plaintiff must not only establish (1) an injury in fact (2) that is
     fairly traceable to the challenged conduct, but he must also seek (3) a
     remedy that is likely to redress that injury. Spokeo, Inc. v. Robins, 578
     U. S. 330, 338 (2016); see also Gill v. Whitford, 585 U. S.___,         -
     (2018) (slip op., at 13-14)"" /^/. p. 3

     48. The district court order of August 28, 2020, established that Pakosz's

claim established the first two elements of standing. The remedy he sought was

not only injunctive relief, but declaratory relief and pecuniary (money) damages.

     49. Pakosz injuries were not only where he suffered a out-of-pocket-money



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property injury. His injury precluded him from spending the money he intended

for a flight to Poland. Being denied a particular pilgrimage that Pakosz could

fulfill while he had the health to do so is an injury that is incalculable. But that

does not mean that it cannot warrant pecuniary relief. The Supreme Court in

Uzuegbunam explained nominal damages fulfill the third prong of standing.

     "Later courts, however, reasoned that every legal injury necessarily
     causes damage, so they awarded nominal damages absent evidence of
     other damages (such as compensatory, statutory, or punitive damages),
     and they did so where there was no apparent continuing or threatened
     injury for nominal damages to redress. See, e.g.. Barker v. Green, 2 Bing.
     317, 130 Eng. Rep. 327 (C. P. 1824) (nominal damages warded for 1-day
     delay in arrest because “if there was a breach of duty the law would
     presume some damage”); Hatch v. Lewis, 2 F. & F. 467, 479, 485^86,
     175 Eng. Rep. 1145, 1150, 1153 (N. P. 1861) (ineffective assistance by
     criminal defense attorney that does not prejudice the client); Dods v.
     Evans, 15 C. B. N. S. 621, 624, 627, 143 Eng. Rep. 929, 930-931 (C. P.
     1864) (breach of contract); Marzetti v. Williams, 1 B. & Ad. 415, 417-
     418,423^28, 109 Eng. Rep. 842, 843, 845-847 (K. B. 1830) (bank’s 1-
     day delay in paying on a check); id., at 424, 109 Eng. Rep., at 845
     (recognizing that breach of contract could create a continuing injury but
     determining that the fact of breach of contract by itself justified nominal
     damages)." Id. Slip Op. p. 5

     50. Examination of the complaint reveals that citing of damages was not

artfully done. Pakosz and his fellow pro se complainants are not lawyers and were

reaching in the dark for the magic words to cross the'T' and dot the Ts to reach

remedy and relief. The language used and the totality of the complaint, liberally

construed, is sufficient to identify the fact that Pakosz was suing yet-to-be-

nameable individuals not in their official capacity. It is discemable that Pakosz



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was reaching for a money judgment.

      Applying what he called Lord Holt’s “incontrovertible” reasoning, Justice
      Story explained that a prevailing plaintiff “is entitled to a verdict for nominal
      damages” whenever “no other [kind of damages] be proved.” Webb v.
      Portland Mfg. Co., 29 F. Cas. 506, 508-509 (No. 17,322) (CC Me. 1838).
      Because the common law recognized that “every violation imports damage,”
      Justice Story reasoned that “[t]he law tolerates no farther inquiry than
      whether there has been the violation of a right.” Ibid. Justice Story also made
      clear that this logic applied to both retrospective and prospective relief. Id.,
      at 507 (stating that nominal damages are available “wherever there is a
      wrong” and that, “[a] fortiori, this doctrine applies where there is not only a
      violation of a right of the plaintiff, but the act of the defendant, if continued,
      may become the foundation, by lapse of time, of an adverse right”). Id, p. 6

     51. Whether or not Pakosz knew the proper language or legal theory for

damages, nominal damages are due by default.

     "Justice Story said that nominal damages are “presumed” “[wjhere the
     breach of duty is clear.” Commentaries on the Law of Agency §217, p.
     211 (1839). Justice Story adopted the same position a few years later.
     Whipple V. Cumberland Mfg. Co., 29 F. Cas. 934, 936 (No. 17,516) (CC
     Me. 1843) (stating that it is “well-known and well-settled” that wherever
     a wrong is done to a right,” at minimum “nominal damages will be
     given”). And other jurists declared that “[t]he principle that every injury
     legally imports damage, was decisively settled, in the case of Ashby.”
     Parker V. Griswold, 17 Conn. *288, *304-*306 (1845) (citing many
     cases on both sides of the Atlantic, including Webb and Marzetti).
     Id. p. 7

     52. Like in Uzuegbunam, the government intended to moot Pakosz's case by

 saying that some time in the future, should he file a new DS-82 passport renewal

 form, the government would not violate his rights regarding religion. That would

remove one form of injunctive relief, but it still would not cure the injury upon

Pakosz that spawned the litigation. Pakosz complaint was not merely regarding the

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violation of his religious rights, but also about the violation of his due process

rights protected by the Fifth Amendment. They did not send him a bill for which

he could be compensated for his false imprisonment. The injury to his liberty

rights of travel and due process warrant a judgment against all defendants, by

differing degree of pecuniary payment. The Supreme Court in Uzuegbunam said

     Admittedly, the rule allowing nominal damages for a violation of any
     legal right, though “decisively settled,” Parker, 17 Conn., at *304, was
     not universally followed—as is true for most common-law doctrines.
     And some courts only followed the rule in part, recognizing the a
     vailability of nominal damages but holding that the improper denial of
     nominal damages could be harmless error. Yet, even among these courts,
     many adopted the rule in full whenever a person proved that there was a
     violation of an “important right.” E.g., Hecht v. Harrison, 5 Wyo. 279,
     290, 40 P. 306, 309-310 (1895); accord, Reid v. Johnson, 132 Ind. 416,
     419, 31 N. E. 1107, 1108 (1892) (“substantial right”). Nonetheless, the
     prevailing rule, “well established” at common law, was “that a party
     whose rights are invaded can always recover nominal damages without
     furnishing any evidence of actual damage.” 1 T. Sedgwick, Measure of
     Damages 71, n. a (7th ed. 1880); see also id., at 72 (citing Lord Holt’s
     opinion in Ashby). Id. p. 7

     That this rule developed at common law is unsurprising in the light of the
     noneconomic rights that individuals had at that time. A contrary rule
     would have meant, in many cases, that there was no remedy at all for
     those rights, such as due process or voting rights, that were not readily
     reducible to monetary valuation. See D. Dobbs, Law ofRemedies §3.3(2)
     (3d ed. 2018) (nominal damages are often awarded for a right “not
     economic in character and for which no substantial non-pecuniary award
     is available”); see also Carey v. Piphus, 435 U. S. 247, 266-267 (1978)
     (awarding nominal damages for a violation of procedural due process).
     By permitting plaintiffs to pursue nominal damages whenever they
     suffered a personal legal injury, the common law avoided the oddity of
     privileging small-dollar economic rights over important, but not easily
     quantifiable, nonpecuniary rights. Id. p. 8



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     53. Pakosz, even on his deathbed, continued to stand against the wiles of the

government trickery, baiting him to abandon his action that was anchored to his

not-yet-to-be-approved-in-accordance-with-the-law passport renewal application.

His intent was to reach judgment, in solidarity with his co-complainants, so that he

might not only maintain the right but also vindicated it.

     To begin with, the cases themselves did not require a plea for compensa­
     tory damages as a condition for receiving nominal damages. Lord Holt
     spoke in categorical terms: “[Ejvery injury imports a damage,” so a
     plaintiff who proved a legal violation could always obtain some form of
     damages because he “must of necessity have a means to vindicate and
     maintain [the right].” Ashby, 2 Raym. Ld., at 953-955, 92 Eng. Rep., at
     136-137. Justice Story’s language was no less definitive: “The law toler­
     ates no farther inquiry than whether there has been the violation of a
     right.” Webb, 29 F. Cas., at 508. When a right is violated, that violation
     “imports damage in the nature of it” and “the party injured is entitled to a
     verdict for nominal damages.” Id., at 508. Id. pp. 8-9

     54. The district court abused discretion where it gave no opportunity for

Pakosz to amend the complaint to clarify the meaning of the term co-conspirators

or to appropriate the case rule of Uzuegbunam and Tanvir to claim appropriate

relief now understandable by those rulings.

                                      RELIEF

     55. Grant review, vacate the district court judgment of March 25, 2022, and

make appropriate orders in law and equity to have Pakosz, by his substitute Rick

Dale Hollingsworth, rejoin the litigation in the district court case no. l:19-cv-

02316 on remand. Order the district court to grant discovery and to adjudicate the



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case in accordance with the rules, with the ends ofjustiee in mind rather than the

subjective and speeulative notion of effieieney.

                                                SUMMARY

      56. After the revelation of the cases Uzuegbunam and Tanvir, and after the

opportunity to expose the hidden bad actors and their hidden bad acts by means of

diseovery, Pakosz eomplaint ean be suitably amended in the distriet eourt. None-

the-less, it is the district court's duty to grant relief on the basis of evidenee whieh

exists to whieh the district court is denying aeeess. When the window to those

facts and proof is opened, it is that evidence that shall substantiate the warrant for

damages irrespective of Pakosz's pleading.

        "Exeept for default judgment, prayer of eomplaint is irrelevant, under
        this rule governing demand for judgment, and relief depends on facts
        on the hearing or trial, not the prayer. Equity Capital Co. v. Sponder,
        414 F.2d 317, C.A. Fla. (1969)

      57.      Pakosz's substitute, his son-in-law Riek Dale Hollingsworth, ought to as

is right under the eommon law as first blood or first friend be able to represent

Pakosz's eause and the money damages due Pakosz. Let him rejoin the ongoing

litigation of Carmichael v. Pompeou\ l:19-ev-02316 in the distriet court.


I Religion is defined “the duty which we owe to our creator” Constitution of Virginia, Article 1, § 16.
II David Alan Carmichael v. United States^ 298 F.3d 1367, U.S. Ct. App. (Fed. Cir. Aug. 2002); 66 Fed. Cl. 115,
U.S. Ct. Fed. Cl. (2005)
III Michael Richard Pompeo is substituted by his successor in office, Antony L. Blinken.




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My Appellant Brief is hereby respectfully submitted this cB> day of November,

2022




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                            Certificate of Compliance




My appeal brief complies with the rules regarding format and word count, having

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                             CERTIFICATE OF SERVICE


        I, Rick Dale Hollingsworth, certify that I served to the U.S. Court of Appeals,
 U.S. Circuit Court, District of Columbia, in the case of Pakosz, et al, v. Blinken, et al.,
 case no. 22-5143, the “Appellant Dale Hollingsworth's Brief, 8 copies. I notified the
 Circuit Court and parties at:
       Clerk, United States Court of Appeals
       333 Constitution Avenue, N.W.
       Washington, DC 20001 (By Priority Mail)
       United States Attorney
       United States Attorney's Office
       c/o Stephen DeGenaro
       601 D. Street, N.W.
       Washington, D.C. 20530 (By Priority Mail)
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       Rick Dale Hollingsworth for William Mitchell Pakosz
       14930 Greenbrier Lane
       Homer Glen, Illinois 60491
I certify under the penalty of perjury under the laws of the United States of America, that
the foregoing is true.


                                                                  /J'oMio LyL
    DMe^Mollingswoith for William Mitchell Pakosz               Date
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